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                                                        U.S. Department of Justice

                                                        Andrew E. Lelling
                                                        United States Attorney
                                                        District ofMassachusetts

Main Reception: (617) 748-3100                          John Joseph Moakley United States Courthouse
                                                        1 Courthouse JVay
                                                        Suite 9200
                                                        Boston. Massachusetts 02210


                                                        August 9, 2018

Joshua Hanye, Esq.
Assistant Federal Defender
Federal Public Defender Office
51 Sleeper Street, 5^"^ Floor
Boston, MA 02210

          Re:       United States v. Kristian Mena
                    Criminal No. 18-cr-10228-DPW


Dear Attorney Hanye:

        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and your
client, Kristian Mena ("Defendant"), agree as follows with respect to the above-referenced case:

          1.        Change of Plea


          At the earliest practicable date, but in no event later than August 13, 2018, Defendant shall
waive indictment and plead guilty to the Information attached to this Plea Agreement charging
him with: three counts of distribution of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]
propanamide, also known as fentanyl, a Schedule II substance, in violation of Title 21, United
States Code, Section 841 (a)( 1). Defendant expressly and unequivocally admits that he committed
the crimes charged in Counts One through Three of the Information, did so knowingly and
intentionally, and is in fact guilty of those offenses. Defendant also agrees to waive any applicable
statute of limitations and to waive any legal or procedural defects in the Information.

          2.        Penalties


        Defendant faces the following maximum penalties on each count of the Information:
incarceration for 20 years; supervised release for 3 years to life; a fine of $1,000,000; a mandatory
special assessment of $100; and forfeiture to the extent charged in the Information.

      Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant's immigration status if Defendant is not a citizen of the United States. Under federal
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law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant's immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any inunigration
consequences that this plea may entail, even ifthe consequence is Defendant's automatic removal
from the United States.


        3.      Sentencing Guidelines


        The sentence to be imposed upon Defendant is within the discretion of the District Court
("Court"), subject to the statutory mandatory minimum and maximum penalties set forth above
and the provisions of the Sentencing Reform. Act, and the advisory United States Sentencing
Guidelines ("USSG" or "Guidelines"). While the Court may impose a sentence up to and including
the statutory maximum term of imprisonment and statutory maximum fine, it must consult and
take into account the USSG and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a
sentence.


        The parties agree as follows with respect to Defendant's offense level imder the USSG
(prior to any adjustment for acceptance ofresponsibility):

    a) in accordance with USSG § 2D 1.1(c)(8). Defendant's base offense level is 24, because
       Defendant distributed between 40 and 160 grams of fentanyl;

   b) in accordance with USSG § 2D1.1(b)(1), Defendant's offense level is increased by two
      levels because Defendant possessed a firearm;

    Defendant will take the position that, pursuant to USSG § 2D1. l(b)(l 7), the Court should apply
USSG § 5C1.2 and reduce his offense level by two levels. The U.S. Attorney will object on the
ground that Defendant possessed a firearm in connection with the offense and is therefore
disqualified from the two-level reduction pursuant to USSG § 5C1.2(a)(2). Ifthe Court finds that
Defendant meets the requirements of USSG § 5C1.2(a)(l)-(4), the U.S. Attorney finds that
Defendant has satisfied USSG § 5C 1.2(a)(5). Defendant understands and acknowledges that, if
the Court declines to apply USSG § 5C1.2, Defendant will not receive a two-level reduction
pursuant to USSG § 2Dl.l(b)(17) and USSG § 5C1.2.

       The U.S. Attorney reserves the right to oppose Defendant's argument(s) for a departure
from, or a sentence outside, the USSG under the factors set forth in 18 U.S.C. § 3553(a).

       Based on Defendant's prompt acceptance of personal responsibility for the offenses of
conviction in this case, and information known to the U.S. Attomey at this time, the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant's adjusted offense level
underUSSG§3El.l.

       The U.S. Attomey reserves the right not to recommend a reduction under USSG § 3E1.1
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if, at any time between Defendant's execution of this Plea Agreement and sentencing, Defendant:

                a) Fails to admit a complete factual basis for the plea;

                b) Fails to truthfully admit Defendant's conduct in the offenses of conviction;

                c) Falsely denies, or frivolously contests, relevant conduct for which Defendant is
                   accountable under USSG § 1B1.3;

                d) Fails to provide truthful information about Defendant's financial status;

                e) Gives false or misleading testimony in any proceeding relating to the criminal
                   conduct charged in this case and any relevant conduct for which Defendant is
                   accountable under USSG § IB 1.3;

                f) Engages in acts that form a basis for finding that Defendant has obstructed or
                   impeded the administration ofjustice under USSG § 3C1.1;

                g) Intentionally fails to appear in Court or violates any condition of release;

                h) Commits a crime;

                i) Transfers any asset protected under any provision of this Plea Agreement; or

                j) Attempts to withdraw Defendant's guilty plea.

         Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any ofthe reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.       Sentence Recommendation


       The U.S. Attorney agrees to recommend the following sentence before the Court:

                a) incarceration at the low end ofthe Guidelines sentencing range as calculated by
                   the Court at sentencing, excluding departures;

                b) a fine within the Guidelines sentencing range as calculated by the Court at
                   sentencing, unless the Court finds that Defendant is not able and, even with the
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                    use of a reasonable installment schedule, is not likely to become able to pay a
                    fine;

                c) 36 months of supervised release;

                d) a mandatory special assessment of$300, which Defendant must pay to the Clerk
                   of the Court on or before the date of sentencing (unless Defendant establishes
                   to the Court's satisfaction that Defendant is unable to do so); and

                e) forfeiture as set forth in Paragraph 8.

        The parties agree to provide expert reports, motions, memoranda oflaw and documentation
of any kind on which the movant intends to rely at sentencing according to the Court's procedural
order for sentencing. Any basis for sentencing which the parties have not provided to each other
according to the Court's procedural order for sentencing shall be deemed waived.

       5.       Other Post-Sentence Events


                a) If, Defendant appeals or challenges in a future proceeding (collateral or
                   otherwise) Defendant's sentence, the U.S. Attorney reserves the right to argue
                   the correctness of the sentence imposed by the Court.

                b) If, Defendant seeks re-sentencing. Defendant agrees not to seek to be re-
                   sentenced with the benefit of any change to the Criminal History Category that
                   the Court calculated at the time of Defendant's original sentencing, except to
                   the extent that Defendant has been found actually factually innocent of a prior
                   crime.


                c) In the event of a re-sentencing following an appeal from or future challenge
                   (collateral or otherwise) to Defendant's sentence, the U.S. Attorney reserves the
                   right to seek a departure from and a sentence outside the USSG if, and to the
                   extent, necessary to reinstate the sentence the U.S. Attorney advocated at
                   Defendant's initial sentencing pursuant to this Plea Agreement.

       6.       Court Not Bound by Plea Agreement


        The parties' sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the mandatory minimum and
maximum sentence Defendant faces under the applicable law, the sentence to be imposed is within
the sole discretion of the Court. Defendant's plea will be tendered pursuant to Fed. R. Crim. P.
11(c)(1)(B). Defendant may not withdraw his plea of guilty regardless of what sentence is
imposed, or because the U.S. Probation Office or the Court declines to follow the parties' USSG
calculations or recommendations. Should the Court decline to follow the U.S. Attorney's USSG
calculations or recommendations, the U.S. Attorney reserves the right to defend the Court's
calculations and sentence in any direct appeal or future challenge (collateral or otherwise).
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        7.       Forfeiture


       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

        8.       Information for Presentence Report


       Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant's assets.


        9.       Civil Liabilitv


         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability. Defendant may have incurred or may incur
as a result of Defendant's conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

        10.      Refection of Plea bv Court


       Should Defendant's guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant's motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

        11.      Breach of Plea Agreement


        If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant's pretrial release, or has committed
any crime following Defendant's execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant's guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute oflimitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.
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       12.     Who is Bound by Plea Agreement


        This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.

       13.     Modifications to Plea Agreement


       This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Philip C. Cheng.



                                                 Very truly yours,

                                                 ANDREW E. TELLING
                                                 United States Attorney

                                                                     Ml
                                                 Linda M. Ricci
                                                 Chief, Narcotics and Money Laundering Unit
                                                 Katherine Ferguson
                                                 Deputy Chief, Narcotics and Money Laundering
                                                 Leah B. Foley
                                                 Deputy Chief, Narcotics and Money Laundering




                                                 Philip C. Chmg
                                                 Assistant U.S. Attorney
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                       ACKNOWLEDGMENT OF PLEA AGREEMENT


        I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney's
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney's Office; and (c) no official ofthe United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I received
an offer by letter dated July 5, 2018 and rejected that offer. I understand the crimes to which I
have agreed to plead guilty, the maximum penalties for those offenses, and the Sentencing
Guideline penalties potentially applicable to them. I am satisfied with the legal representation
provided to me by my attorney. We have had sufficient time to meet and discuss my case. We
have discussed the charges against me, possible defenses I might have, the terms of this Plea
Agreement and whether I should go to trial. I am entering into this Plea Agreement fi*eely,
voluntarily, and knowingly because I am guilty of the offenses to which I am pleading guilty, and
I believe this Plea Agreement is in my best interest.




                                                  Kristian Mena
                                                  Defendant


                                                  Date:


        I certify that Kristian Mena has read this Plea Agreement and that we have discussed its
meaning. I believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily, and knowingly. I also certify that, in addition to this offer, the U.S. Attorney
extended an offer dated July 5, 2018 and that I fully discussed that offer with Defendant before
Defendant rejected it.




                                                  Joshi^ Hanye
                                                  Attorney for Defendant

                                                  Date:
